     Case 3:20-cv-02194-CAB-MSB Document 17 Filed 07/08/21 PageID.79 Page 1 of 3




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12
                    IN THE UNITED STATES DISTRICT COURT
13                    SOUTHERN DISTRICT OF CALIFORNIA
14
     CHASE ROGERS, individually and              Case No. 20cv2194-CAB (MSB)
15   on behalf of all others similarly
     situated,
16
               Plaintiff,                        JOINT MOTION FOR
17                                               DISMISSAL
     vs.
18
     INFINITY ENERGY INC.,
19
               Defendant.
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                             JOINT MOTION FOR DISMISSAL
     Case 3:20-cv-02194-CAB-MSB Document 17 Filed 07/08/21 PageID.80 Page 2 of 3




 1
           Plaintiff, Chase Rogers, and Defendant, Infinity Energy Inc., hereby submit

 2   this Joint Motion for Dismissal (the “Joint Motion”). Pursuant to this Joint Motion,
 3
     the Parties agree and stipulate that to the dismissal of this action as follows:
 4

 5         1.     All claims of the Plaintiff, Chase Rogers, individually, are hereby

 6   dismissed with prejudice.
 7
           2.     All claims of any unnamed member of the alleged class are hereby
 8

 9   dismissed without prejudice.

10

11
     Dated: July 8, 2021                     Respectfully submitted,
12
                                             EDELSBERG LAW, P.A.
13                                           By: /s/ Scott Edelsberg
                                             Scott Edelsberg, Esq. (CA Bar No. 330990)
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17
                                             Class
18
19
     Dated: July 8, 2021
20
                                             ELGUINDY, MEYER & KOEGEL, APC
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26
                                             Counsel for the Defendant
27

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                               JOINT MOTION FOR DISMISSAL
     Case 3:20-cv-02194-CAB-MSB Document 17 Filed 07/08/21 PageID.81 Page 3 of 3




 1
                              CERTIFICATE OF SERVICE

 2         I hereby certify that on July 8, 2021, I electronically filed the foregoing
 3
     document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
 4

 5   document is being served this day on all counsel identified below via transmission

 6   of Notices of Electronic Filing generated by CM/ECF or in some other authorized
 7
     manner.
 8
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14                                         Class
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                              JOINT MOTION FOR DISMISSAL
